                                  Case 3:21-md-02981-JD Document 888-72 Filed 12/21/23 Page 1 of 1
  From:
  From:                                 Hans Stoltus
                                        Hans Stolfus             usepicgames.com>
                                                                  sgepicgames.com>
  Sent:
  Sent:                                 Thu, 23
                                        Thu, 23 Apr
                                                Apr 2020
                                                     2020 17:43:44
                                                          17:43:44 +0000
                                                                   +0000(UTC)
                                                                         (UTC)
  To:
  To:                                   Ed Zobrist
                                        Ed Zobrist            tepicgames.com>
                                                               @epicgames.com>
  Subject:
  Subject:                              Re: Heads
                                        Re: Heads up
                                                   up


  Sweet Jesus.
  Sweet Jesus.

  Okay.
  Okay.


           On Apr
           On Apr 23,
                  23, 2020,
                      2020, at
                            at 1:33
                               1:33 PM,
                                    PM, Ed
                                        Ed Zobrist
                                           Zobrist                             t@epicgames.com>
                                                                               t@ep cgames.com> wrote:
                                                                                                wrote:



           For your
           For      eyes only.
               your eyes only.


  Tim Sweeney
  Tim Sweeney




  to me,
  to me, Haseeb,
         Haseeb, Daniel,
                 Daniel, Thomas,
                         Thomas, Chris,
                                 Chris, Kayla
                                        Kayla
    I   https://mail.google com/mail/u/O/images/cleardot.gif


           Hi all,
           Hi all,


  Ed, can
  Ed, can you  arrange a
          you arrange  ameeting   next week
                         meeting next       for 90
                                       week for 90 minutes
                                                   minutes toto discuss
                                                                discuss mobile
                                                                        mobile payment
                                                                                 payment strategy
                                                                                           strategy and
                                                                                                    and options
                                                                                                        options in
                                                                                                                 in detail?
                                                                                                                    detail? E.g.
                                                                                                                            E.g. timeline
                                                                                                                                 timeline required
                                                                                                                                          required to
                                                                                                                                                   to implement
                                                                                                                                                      implement Epic
                                                                                                                                                                 Epic payment
                                                                                                                                                                      payment processing
                                                                                                                                                                                 processing cn
                                                                                                                                                                                            on Android
                                                                                                                                                                                               Android and
                                                                                                                                                                                                         and iOS
                                                                                                                                                                                                             iOS side
                                                                                                                                                                                                                   side by side with
                                                                                                                                                                                                                        by side with
           platform payments,
           platform            new payment
                    payments, new   payment options
                                             optons to
                                                     to prioritize
                                                        prioritize (carder
                                                                   (carder billing, Samsung Pay
                                                                           billing, Samsung   Pay on
                                                                                                   on Android),
                                                                                                      Android), whether
                                                                                                                whether we    can make
                                                                                                                          we can         the Samsung
                                                                                                                                   make the  Samsung PayPay UX
                                                                                                                                                             UX nice in this
                                                                                                                                                                nice in this timeframe,
                                                                                                                                                                             timeframe, and
                                                                                                                                                                                        and the
                                                                                                                                                                                            the likely
                                                                                                                                                                                                likely strategy
                                                                                                                                                                                                       strategy of
                                                                                                                                                                                                                of providing
                                                                                                                                                                                                                   providing 18%
                                                                                                                                                                                                                              18%
           more  VBucks  for Epic payment purchases   versus   platform payment     purchases,
           more VBucks for Epic payment purchases versus platform payment purchases,L.                       REDACTEDFORPRIVILEGE                         J.

  Tim
  Tim



  Head of
  Head  of Publishing
           Publishing
  Epic Games
  Epic Games
                  cell
                  cell




                                                                                                                                                                                                     EXHIBIT 10194

HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL - ATTORNEYS
                      ATTORNEYS' EYES
                                 EYES ONLY
                                      ONLY     -                                                                                                                                                   EPIC_GOOGLE_01967907
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                                                                                                                                                                                                     EXHIBIT 10194-001
